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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                            RICHMOND DIVISION

THE TRUSTEES OF COLUMBIA
UNIVERSITY IN THE CITY OF NEW
YORK,

            Plaintiff

      v.                              Civil Action No. 3:13-cv-00808-MHL

NORTONLIFELOCK INC.,

            Defendant




     NORTONLIFELOCK’S PROPOSED MISSING WITNESS INSTRUCTION IN
            RESPONSE TO THE COURT’S APRIL 8, 2022 ORDER
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       While NortonLifeLock, Inc. (“Norton”) maintains its objection to any Missing Witness

Instruction, should the Court overrule its objection, Norton submits the following proposed

instruction to be read at the conclusion of the case:

       Unexplained Failure to Produce Important Witnesses: If you believe that Norton,
       without explanation, failed to call Dr. Dacier as a live witness at trial, you may, but
       are not required to, infer that Dr. Dacier’s testimony would have been unfavorable
       to Norton.


See 1 Virginia Model Jury Instructions - Civil Instruction No. 2.080 (2022).

April 8, 2022                                 NORTONLIFELOCK INC.


                                              By:       /s/
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